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                 IN THE UNITED STATES DISTRICT COURT
                           DISTRICT OF MINNESOTA


IN RE CATTLE AND BEEF ANTITRUST                  Case No. 22-md-03031 (JRT/JFD)
LITIGATION

This Document Relates To:

In re Cattle Antitrust Litigation,
Case No. 19-cv-1222 (JRT/JFD)




         CATTLE PLAINTIFFS’ MEMORANDUM IN SUPPORT OF
         UNOPPOSED MOTION FOR PRELIMINARY APPROVAL
                  OF CATTLE-JBS SETTLEMENT




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                                   INTRODUCTION

       Pursuant to Rule 23 of the Federal Rules of Civil Procedure, plaintiffs Ranchers

Cattlemen Action Legal Fund United Stockgrowers of America, Farmers Educational and

Cooperative Union of America, Weinreis Brothers Partnership, Minatare Feedlot, Inc.,

Charles Weinreis, Eric Nelson, James Jensen d/b/a Lucky 7 Angus, and Richard Chambers

as trustee of the Richard C. Chambers Living Trust (collectively, the “Cattle Plaintiffs”)

on behalf of themselves and the other members of the proposed Settlement Classes1 defined

below, move for preliminary approval of the Cattle-JBS Settlement with JBS USA Food

Company, Swift Beef Company, JBS Packerland, Inc., and JBS S.A. (collectively, “JBS”).

The Cattle-JBS Settlement, if approved, will completely resolve Cattle Plaintiffs’ and the

Settlement Classes’ claims against JBS and establish an $83,500,000 Settlement Fund, plus

other cooperative relief. JBS does not oppose the filing of this motion.

       Cattle Plaintiffs achieved the Cattle-JBS Settlement following years of hard-fought

litigation and arm’s length settlement negotiations with JBS with the assistance of a

mediator. In light of the benefits the Cattle-JBS Settlement provides and the risks of this

Action, Cattle Plaintiffs and Interim Co-Lead Counsel, Scott+Scott Attorneys at Law LLP

(“Scott+Scott”) and Cafferty Clobes Meriwether & Sprengel LLP (“CCMS”) (collectively




1
       Unless otherwise defined herein or in the proposed Plan of Allocation, all
capitalized terms have the same meanings as defined in the Stipulation and Agreement of
Settlement between Cattle Plainitffs and JBS USA Food Company, Swift Beef Company,
JBS Packerland, Inc., and JBS S.A. (“Stipulation”).


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“Co-Lead Counsel”) consider the Cattle-JBS Settlement to be fair, reasonable, and

adequate.

       The Cattle-JBS Settlement fully satisfies the requirements for preliminary approval

from this Court. First, the Settlement is procedurally fair, as Cattle Plaintiffs and Co-Lead

Counsel are adequate representatives for the Settlement Classes, and the Cattle-JBS

Settlement itself resulted from hard-fought, non-collusive negotiations with the assistance

of an experienced mediator.       Second, the terms of the Cattle-JBS Settlement are

substantively fair, providing substantial relief for all Class Members that submit valid

claims. Third, the Court has ample basis upon which to conditionally certify the Settlement

Classes under Rules 23(a) and (b)(3) because Cattle Plaintiffs meet each of the

requirements of Rule 23. Finally, the proposed Notice Plan is robust and will fully apprise

Class Members of their rights and options, and the Plan of Allocation fairly apportions the

Net Settlement Fund to members of the Settlement Classes.

       Cattle Plaintiffs therefore request this Court to grant their motion and enter the

accompanying Preliminary Approval Order, which:

             Preliminarily approves the Cattle-JBS Settlement subject to later, final
              approval;

             Conditionally certifies the Settlement Classes with respect to the claims
              against JBS;

             Preliminarily approves the proposed Plan of Allocation (Joint Decl., Ex. 4);2



2
       All references to “Joint Decl.” refer to the accompanying Joint Declaration of
Patrick J. McGahan and Daniel O. Herrera in Support of Cattle Plaintiffs’ Unopposed
Motion for Preliminary Approval of Cattle-JBS Settlement, filed herewith.


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           Appoints Cattle Plaintiffs as representatives of the Settlement Classes;

           Appoints Scott+Scott and CCMS as Co-Lead Counsel for the Settlement
            Classes under Fed. R. Civ. P. 23(g);

           Appoints Huntington Bank as the Escrow Agent for the Settlement Fund;

           Appoints Angieon Group as the Claims Administrator for the Cattle-JBS
            Settlement;

           Approves the proposed forms of Notice to the Settlement Classes (Joint
            Decl., Ex. 2 (“Angeion Declaration”), Exs. B, D, E) and the proposed notice
            plan (id., Ex. 2); and

           Sets a schedule leading to the Court’s evaluation of whether to grant final
            approval of the Cattle-JBS Settlement, including: (1) the date, time, and place
            for a hearing to consider the fairness, reasonableness, and adequacy of the
            Cattle-JBS Settlement (the “Fairness Hearing”); (2) the deadline for
            Settlement Class Members to exclude themselves (i.e., opt out) from the
            Cattle-JBS Settlement; (3) the deadline for Co-Lead Counsel to submit a
            petition for attorneys’ fees and reimbursement of expenses and for Cattle
            Plaintiffs to file their application for a Service Award; and (4) the deadline
            for Class Members to object to the Cattle-JBS Settlement and any of the
            related petitions.

See [Proposed] Preliminary Approval Order filed herewith.

                            OVERVIEW OF THE ACTION

I.     PROCEDURAL HISTORY

       After extensive investigation and economic analysis, including the screening of

multiple then-confidential witnesses and work with economic consultants, Cattle Plaintiffs

filed the first complaint in this now-MDL in the Northern District of Illinois, alleging that

Defendants conspired to fix, depress, suppress, or stabilize the price of fed cattle they

purchased in the United States and to manipulate the price of live cattle futures and options

traded on the Chicago Mercantile Exchange in violation of the Sherman Act, the




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Commodity Exchange Act (“CEA”), and the Packers and Stockyard Act (“PSA”). Joint

Decl., ¶2 Shortly thereafter, related complaints were filed in the District of Minnesota.

Joint Decl., ¶3. In order to streamline these cases, on May 7, 2019, Cattle Plaintiffs

dismissed their pending Illlinois action and re-filed their complaint in the District of

Minnesota. Joint Decl., ¶3. On July 10, 2019, the Court entered an order appointing CCMS

and Scott+Scott as interim co-lead counsel and consolidating the cases. Joint Decl., ¶3.

       Following Defendants’ first and second motions to dismiss and the Court’s order on

Defendants’ second motions to dismiss, Cattle Plaintiffs filed a Third Amended Complaint

on December 28, 2020 (the “Complaint”). Joint Decl., ¶4. On February 18, 2021,

Defendants moved to dismiss the Complaint. Joint Decl., ¶5. Cattle Plaintiffs then moved

to approve alternative service on JBS S.A. on March 30, 2021. Joint Decl., ¶5. Following

briefing on these motions, on September 14, 2021, the Court denied Defendants’ motions

to dismiss Cattle Plaintiffs’ Complaint in their entirety and granted Cattle Plaintiffs’ motion

to approve alternative service on JBS S.A. Joint Decl., ¶5.

       Even prior to the Court’s Order denying Defendants’ motions to dismiss, however,

Cattle Plaintiffs began to issue and negotiate discovery requests with Defendants pursuant

to the Court’s April 14, 2020 Order on Discovery Pending Resolution of the Motions to

Dismiss allowing certain discovery to proceed pending resolution of Defendants’ motions

to dismiss. Joint Decl., ¶5. Over the next three years, the parties engaged in extensive

discovery, including the production of nearly nine million documents from the parties and

non-parties (including over 1.2 million documents from JBS), vast amounts of structured

data records, and depositions of over 80 Defendant witnesses, with over a dozen of


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additional party and non-party witnesses having been noticed by plaintiffs and Defendants.

Joint Decl., ¶¶6-9.

        After extensive fact discovery and consultation with their experts, on September 25,

2024, Cattle Plaintiffs filed their motion for class certification and submitted the expert

reports of Dr. Russell Lamb, Ph. D. and Candice Rosevear in support of that motion. Joint

Decl., ¶10. Defendants’ responses were filed on January 24, 2025. Joint Decl., ¶11.

II.     SUMMARY OF SETTLEMENT NEGOTIATIONS

        The Stipulation was the product of a long, hard-fought, and arm’s length

negotiations between Cattle Plaintiffs and JBS. Shortly after the Court’s order denying

Defendants’ motions to dismiss, Cattle Plaintiffs and JBS began settlement negotiations

with the assistance of a nationally-recognized mediator. Joint Decl., ¶12. The parties

exchanged mediation statements and engaged in an in-person mediation session in New

York, New York on November 5, 2021.              The settlement discussions did not yield

agreement at that time, and the Cattle Plaintiffs and JBS made no attempts to reach a

settlement for another 3 years.

        Following another round of extensive and hard-fought negotiations, and with the

assistance of mediator Miles Ruthberg of PADRE, and after extensive, hard-fought

negotiations, the Parties ultimately accepted a mediator’s proposal. Joint Decl., ¶13. Cattle

Plaintiffs and JBS executed the Stipulation on January 17, 2025. Joint Decl., ¶14.

        Prior to negotiating the Cattle-JBS Settlement, given the many years of work

invested in this litigation, Cattle Plaintiffs and Co-Lead Counsel were well-informed about

the strengths and weaknesses of their claims against JBS. In negotiating the Cattle-JBS


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Settlement, Cattle Plaintiffs also had the benefit of information developed through the

extensive document and deposition discovery, and their expert’s analysis of the evidence

and market conditions in the fed cattle and live cattle futures markets. Joint Decl., ¶¶6-9.

         The Cattle-JBS Settlement was further facilitated by the work of a well-known

mediator, Miles Ruthberg. His involvement provides a well-recognized basis for finding

that the settlement negotiations were serious, hard-fought, and conducted at arm’s length.

III.     SUMMARY OF KEY CATTLE-JBS SETTLEMENT TERMS

         JBS has agreed to provide monetary and non-monetary compensation for the benefit

of the Settlement Classes defined as:

         The Producer Class (Fed. R. Civ. P. 23(b)(3)): All persons or entities within
         the United States that directly sold to a Defendant one or more fed cattle for
         slaughter from June 1, 2015 to February 29, 2020 other than pursuant to a
         Cost-Plus Agreement3 and/or a Profit Sharing Agreement.4

         The Exchange Class (Fed. R. Civ. P. 23(b)(3)): All persons or entities who
         held a long position in Live Cattle Futures traded on the Chicago Mercantile
         Exchange prior to June 1, 2015, and subsequently liquidated the long position
         through an offsetting market transaction at any point prior to November 1,
         2016.




3
       “Cost Plus Agreement” means an agreement to purchase fed cattle at a price
determined, in all or in part, by applying an agreed mark-up to an accounting of costs
incurred by the fed cattle seller in providing finished fed cattle.
4
       “Profit Sharing Agreement” means an agreement to supply fed cattle to a Defendant
pursuant to which the Defendant: (i) financed all or part of the costs incurred by the seller
in connection with the seller’s purchase of unfinished cattle and/or the seller’s efforts to
finish unfinished cattle to slaughter weight (e.g., feed); and/or (ii) agreed to share certain
profits or losses of either the seller and/or the Defendant in relation to the cattle to be
supplied.


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Stipulation, ¶1.46. Excluded from the Settlement Classes are Defendants, their parent

companies, subsidiaries, any entity in which any Defendant has a controlling interest,

affiliates, officers, directors, employees, assigns, successors, agents, legal representatives,

heirs, or co-conspirators; the court, court staff, defense counsel, jurors, all respective

immediate family members of these excluded entities, federal governmental entities and

instrumentalities of the federal government, and states and their subdivisions, agencies and

instrumentalities, and local governmental entities and instrumentalities.5 Id.

        Specifically, in consideration for the release of claims and dismissal of the Action,

JBS has agreed to pay $83,500,000 into a Settlement Fund and to provide cooperation to

assist Cattle Plaintiffs in their prosecution of claims against the remaining Defendants.

Stipulation, ¶¶2.1-2.2. As part of JBS’s cooperation, it has agreed to, among other things:

(a) provide documents or data produced by JBS in response to discovery taken by other

plaintiffs in the MDL, (b) allow Cattle Plaintiffs to notice up to an additional three

depositions of JBS witnesses, (c) use its best efforts to produce up to three current or former

employees to testify at trial, and (d) provide best efforts to authenticate or lay evidentiary

foundation for the admissibility of documents produced by JBS in the MDL. Stipulation,

¶2.2.




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        The Producer Class excludes, for the avoidance of doubt, lots of fed cattle harvested
by Defendants: (a) in which Defendants, their subsidiaries, and/or affiliates had a full or
partial ownership interest; and/or (b) was finished at a feedlot owned by the Defendant,
their subsidiaries, and/or affiliates. Also excluded from the Settlement Class are any
Persons that exclude themselves by submitting a request for exclusion that is accepted by
the Court. Id.


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       Class Members who do not request exclusion from the Settlement Classes and who

submit a timely and valid claim may receive a pro rata share of the Net Settlement Fund,

based on a calculation of their transactions as described in the accompanying Plan of

Allocation. Joint Decl., Ex. 4. JBS has agreed to deposit half of the Settlement Amount

into an Escrow Account within 14 days following entry of the Preliminary Approval Order,

and the remainder of the Settlement Amount within 45 days of the Initial Payment.

Stipulation, ¶2.1(a).   The cost of settlement administration, including the costs to

implement the notice plan and any taxes and tax-related expenses, will be paid from the

Settlement Fund. Stipulation, ¶3.1. In exchange, the Cattle-JBS Settlement provides that

Cattle Plaintiffs, each Settlement Class Member, and Released Cattle Plaintiffs shall “fully,

finally, and forever release[], waive[], relinquishe[] and discharge[], and shall forever be

enjoined from prosecuting, all Cattle Plaintiffs’ Released Claims against JBS and Released

Defendants, whether or not such Cattle Plaintiff, Settlement Class Member, or Released

Plaintiff executes and delivers a Claim Form.” Stipulation, ¶4.2.

       The Cattle-JBS Settlement further discloses that Co-Lead Counsel may apply to the

Court for an award of Attorneys’ Fees and Expenses, including for: (a) attorneys’ fees and

payment of incurred and anticipated litigation costs and expenses in connection with the

investigation, filing, prosecution, and settlement of the Action, plus interest on such

amounts awarded at the same rate as earned on the Settlement Fund until paid; and (b)

Service Awards to Cattle Plaintiffs. Stipulation, ¶8.1.

                                           * * *




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        Cattle Plaintiffs and Co-Lead Counsel worked tirelessly to obtain this excellent

result for the Settlement Classes. After thoroughly investigating the factual and legal issues

in the Action, litigating their claims against JBS for five years, and engaging in hard-fought

settlement negotiations, Cattle Plaintiffs and Co-Lead Counsel are confident that the

Cattle-JBS Settlement is in the best interests of Class Members. As described below, the

Cattle-JBS Settlement meets the standard for preliminary approval, and notice of the

Cattle-JBS Settlement may be issued.

IV.     ARGUMENT

        “ʻThe policy in federal court favoring the voluntary resolution of litigation through

settlement is particularly strong in the class action context.’” In re Uponor, Inc., F1807

Plumbing Fittings Prods. Liab. Litig., No. 11-MD-2247-ADM-JJK, 2012 WL 2512750, at

*7 (D. Minn. June 29, 2012) (quoting White v. Nat’l Football League, 822 F. Supp. 1389,

1416 (D. Minn. 1993)). As the Eighth Circuit has directed, “ʻstrong public policy favors

[settlement] agreements, and courts should approach them with a presumption in their

favor.’” Petrovic v. Amoco Oil Co., 200 F.3d 1140, 1148 (8th Cir. 1999).6

        In reviewing class action settlements, courts must ensure that they are “fair,

reasonable, and adequate.” Fed. R. Civ. P. 23(e)(2). In assessing whether a settlement

should receive preliminary approval, the fairness, reasonableness, and adequacy “ʻstandard

is lowered, with emphasis only on whether the settlement is within the range of possible

approval due to an absence of any glaring substantive or procedural deficiencies.’” In re



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        Unless otherwise indicated, citations are omitted, and emphasis is added.


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Centurylink Sales Pracs. & Sec. Litig., No. CV 18-296 (MJD/KMM), 2021 WL 3080960,

at *5 (D. Minn. July 21, 2021). A court properly grants preliminary approval and approves

class notice if the parties “will likely be able to: (i) approve the proposal under Rule

23(e)(2); and (ii) certify the class for purposes of judgment on the proposal.” Fed. R. Civ.

P. 23(e)(1).

       Rule 23(e)(2) directs courts to approve a settlement after considering several factors,

namely: (i) that the class was adequately represented by counsel and the class

representatives; (ii) that the proposed settlement was negotiated at arm’s length; (iii) that

the settlement provides adequate relief to the class; and (iv) that the settlement treats class

members equitably relative to each other.

       “The court is entitled to rely on the judgment of experienced counsel in its

evaluation of the merits of a class action settlement.” In re Employee Benefit Plans Sec.

Litig., No. 3-92-cv-708, 1993 WL 330595, *5 (D. Minn. June 2, 1993); see also Welsch v.

Gardenbring, 667 F. Supp. 1284, 1295 (D. Minn. 1987) (affording “great weight” to

opinions of experienced counsel); see also Grier v. Chase Manhattan Auto Fin. Co., No.

CIV. A. 99-cv-180, 2000 WL 175126, at *5 (E.D. Pa. Feb. 16, 2000) (stating that courts

attach “[a]n initial presumption of fairness . . . to a class settlement reached in arms-length

negotiations between experienced and capable counsel after meaningful discovery”).




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       A.     The Proposed Settlement Classes Satisfy the Requirements for Class
              Certification at the Preliminary Approval Stage

       At the preliminary approval stage, the Court must also determine if the proposed

Settlement Classes should be certified for settlement purposes only, as permitted under

Rule 23. See, e.g., Amchem Prods., Inc. v. Windsor, 521 U.S. 591, 620 (1997).7

       To qualify for settlement-class certification, an action must satisfy all provisions of

Federal Rule of Civil Procedure 23(a), plus one of the subdivisions of Rule 23(b) – for

purposes of the Cattle-JBS Settlement, Rule 23(b)(3). See Fed. R. Civ. P. 23(a), 23(b)(3).

The proposed Settlement Classes here satisfy each of the requirements of Rule 23(a)

(numerosity, commonality, typicality, and adequacy of representation) and the

predominance and superiority requirements of Rule 23(b)(3).

       B.     Rule 23(a) Requirements Are Satisfied

              1.     Numerosity Is Easily Satisfied

       Rule 23(a)(1) requires that the class be so numerous as to make joinder of its

members “impracticable.” Fed. R. Civ. P. 23(a)(1). Generally, a class of more than 40

members is believed to be sufficiently numerous for Rule 23 purposes. See Rasberry v.

Columbia Cnty., Arkansas, No. 16-cv-1074, 2017 WL 3259447, at *2 (W.D. Ark. July 31,

2017) (citing Alberts v. Nash Finch Co., 245 F.R.D. 399, 409 (D. Minn. 2007) (“[A]

putative class exceeding 40 members is sufficiently large to make joinder impracticable.”)).

Based on Cattle Plaintiffs’ investigation, there are thousands of geographically dispersed



7
       As set forth in the Stipulation, the “Parties’ agreement as to certification of the
Settlement Classes is only for purposes of effectuating this Cattle-JBS Settlement, and for
no other purpose.” Stipulation, ¶10.1.

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persons and entities in each of the proposed classes. See Memorandum of Law in Support

of Cattle Plaintiffs’ Motion for Class Certification at 41, ECF No. 880 (Sept. 25, 2024)

(“Plaintiffs’ Class Cert. Memo.”). Therefore, joinder would be impracticable, and Rule

23(a)(1) is satisfied.

               2.        There Are Common Questions of Law and Fact

       Rule 23(a)(2) requires that there be “questions of law or fact common to the class.”

Plaintiffs must show that resolution of an issue of fact or law “is central to the validity of

each” class member’s claim and “[e]ven a single [common] question will” satisfy the

commonality requirement. Wal-Mart Stores, Inc. v. Dukes, 564 U.S. 338, 350, 359 (2011).

       “Minnesota courts have previously found that allegations of a nationwide horizontal

price-fixing conspiracy in violation of Section 1 of the Sherman Act primarily involves

common issues of fact and law.” In re Pork Antitrust Litig., 665 F. Supp. 3d 967, 996 (D.

Minn. 2023). Proof of this alleged conduct will be common to all Class Members.

Additional questions of law and fact common to the proposed Settlement Classes include,

among others:

        whether Defendants’ conspiracy existed,

        whether Defendants’ conspiracy suppressed the prices Cattle Plaintiffs paid for
         fed cattle during the class period; and

        the appropriate measure of the damages suffered by the Classes.

       The proof required to establish the existence of the conspiracy and JBS’s unlawful

participation in it is common to all Class Members and, therefore, Rule 23(a)(2) is satisfied.




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              3.     Cattle Plaintiffs’ Claims Are Typical of the Classes

       Rule 23(a)(3) requires that the class representatives’ claims be “typical” of class

members’ claims. Typicality exists “when the claims of the named plaintiffs emanate from

the same event or are based on the same legal theory as the claims of the class members.”

Lockwood Motors, Inc. v. General Motors Corp., 162 F.R.D. 569, 575 (D. Minn. 1995);

see also Paxton v. Union Nat. Bank, 688 F.2d 552, 561-62 (8th Cir. 1982); Dirks v. Clayton

Brokerage Co. of St. Louis, Inc., 105 F.R.D. 125, 133 (D. Minn. 1985). “When the claims

or defenses of the representatives and the class are based on the same course of conduct or

legal theory, it is thought that the representatives will advance the interest of the class

members by advancing his or her own interests.” In re Control Data Corp. Sec. Litig., 116

F.R.D. 216, 220 (D. Minn. 1986); see also Smith v. United Health Care Servs., Inc., No.

00-cv-1163, 2002 WL 192565, at *3-4 (D. Minn. 2002) (plaintiffs typical of class despite

varying degree of damages due to “strong similarity of legal theories”).

       Here, the named Cattle Plaintiffs’ and the putative Settlement Classes’ legal claims

arise out of the same alleged conduct. See, generally, Complaint. In short, Cattle Plaintiffs’

claims arise out of the same course of conduct and the same injury – namely the suppression

of fed cattle and Live Cattle Futures prices – and they seek the same relief. See In re Select

Comfort Corp. Sec. Litig., 202 F.R.D. 598, 604 (D. Minn. 2001) (“Typicality is closely

related to commonality as a ‘finding of one generally compels a finding of the other.’”).

Because Cattle Plaintiffs’ claims are typical of the Settlement Classes’ claims, this

requirement is similarly met.




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              4.      Cattle Plaintiffs and Co-Lead Counsel Have Fairly and
                      Adequately Protected the Interests of the Classes

       Under Rule 23(a)(4), a class representative must “fairly and adequately protect the

interests of the class.” Fed. R. Civ. P. 23(a)(4). In order to meet this requirement, the Court

must find that: (1) the representatives and their counsel are able and willing to prosecute

the action competently and vigorously; and (2) each representative’s interests are

sufficiently similar to those of the class that it is unlikely that their goals and viewpoints

will diverge. See In re Monosodium Glutamate Antitrust Litig., 205 F.R.D. 229, 233 (D.

Minn. 2001); Lockwood Motors, 162 F.R.D. at 576.

       As demonstrated through their work in this Action, Cattle Plaintiffs and Co-Lead

Counsel have diligently prosecuted the case by, among other things:

              (i)     conducting an extensive and thorough investigation prior to filing
                      their complaint;
              (ii)    successfully opposing Defendants’ motions to dismiss;
              (iii)   engaging in extensive document and deposition discovery, including
                      obtaining, reviewing, and analyzing millions of pages of documents
                      produced by the Defendants, noticing or cross-noticing over 80
                      Defendant witnesses and 25 non-party witnesses, and sitting for over
                      13 Plaintiff depositions;
              (iv)    engaging and working with experts to understand the economic
                      impact of Defendants’ conduct on the fed cattle and live cattle futures
                      markets;
              (v)     moving for certification of litigation classes, with supporting expert
                      reports;
              (vi)    preparing for and participating in mediation; and
              (vii)   negotiating the proposed Cattle-JBS Settlement with a payment of
                      $83,500,000 for the benefit of the Classes.

See Joint Decl., ¶¶2-10.

       Further, Co-Lead Counsel have decades of experience leading some of the most

complex class actions. See Joint Decl., Exs.5-6 (firm résumés). Co-Lead Counsel’s


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extensive antitrust, CEA, and complex class action experience, combined with their

extensive efforts in this litigation, demonstrate Co-Lead Counsel’s adequacy.             The

collective tenacity and dedication of Cattle Plaintiffs and Co-Lead Counsel directly led to

the Cattle-JBS Settlement, which will provide significant and immediate relief to members

of the Settlement Classes.

       C.     The Classes May Be Certified Under Rule 23(b)(3)

       To satisfy Rule 23(b)(3), plaintiffs must conditionally establish: (1) “that the

questions of law or fact common to class members predominate over any questions

affecting only individual members;” and (2) “that a class action is superior to other

available methods for fairly and efficiently adjudicating the controversy.” Fed. R. Civ. P.

23(b)(3). As detailed below, the Classes satisfy these requirements.

              1.     Common Questions Predominate

       Minnesota district courts recognize that “[a]s with the commonality and typicality

requirements, the predominance inquiry is directed toward the issue of liability.” Select

Comfort, 202 F.R.D. at 610. When determining whether common questions predominate,

courts “ʻfocus on the liability issue . . . and if the liability issue is common to the class,

common questions are held to predominate over individual questions.’” Id. (elipsis in

original).

       Here, multiple common questions lie at the heart of all Class Members’ claims,

including whether Defendants conspired to suppress fed cattle and live cattle futures prices.

Moreover, the same evidence – documentary and testimonial – that will be used to establish

Defendants’ alleged violation of the antitrust laws and the CEA, and to demonstrate Cattle


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Plaintiffs’ claimed damages arising from those violations, would be used by all other Class

Members to establish Defendants’ alleged violations of law in their claims against

Defendants and the Class Members’ damages. See also generally Cattle Plaintiffs’ Class

Cert. Memo. at 35-48 (explaining the common evidence capable of establishing

Defendants’ liability under the Sherman Act and CEA).            Likewise, Cattle Plaintiffs

maintain that common evidence, described by Dr. Lamb and Ms. Rosevear in their

respective expert reports, is capable of showing that: (a) Defendants caused fed cattle prices

to be suppressed throughout the Class Period, and (b) Defendants’ suppression of prices in

the fed cattle market, caused prices of Live Cattle Futures to become artificial.

       Because the timing, nature, and impact of Defendants’ alleged conspiratorial

conduct serve as a common nucleus of facts that link together each Class Member’s claim,

the predominance requirement under Rule 23(b)(3) is satisfied.

              2.     A Class Action Is Superior to Individual Actions

       Plaintiffs must also show that a class action is superior to individual actions, which

involves four considerations:

       (A)    the interest of the members of the class in individually controlling the
              prosecution or defense of separate actions;

       (B)    the extent and nature of any litigation concerning the controversy already
              commenced by or against members of the class;

       (C)    the desirability or undesirability of concentrating the litigation of the claims
              in the particular forum; and

       (D)    the difficulties likely to be encountered in the management of the class
              action.




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Fed. R. Civ. P. 23(b)(3). Here, any Class Member’s interest in individually controlling the

prosecution of a separate claim is likely low, given that the cost of litigating a claim

individually would necessarily exceed the potential individual recovery. Further, because

there are hundreds of individuals and entities in the Classes, a class settlement conserves

both judicial and private resources and hastens Class Members’ recovery.

       In addition, while Cattle Plaintiffs see no management difficulties in litigating this

case, manageability considerations are not pertinent to approving a settlement class. See

Amchem, 521 U.S. at 620 (“Confronted with a request for settlement-only class

certification, a district court need not inquire whether the case, if tried, would present

intractable management problems . . . for the proposal is that there be no trial.”). In sum,

resolving all Class Members’ claims jointly, particularly through a class-wide settlement

negotiated on their behalf by counsel well-versed in class action litigation, is superior to a

series of individual lawsuits and promotes judicial economy. See W. Virginia Pipe Trades

Health & Welfare Fund v. Medtronic, Inc., 325 F.R.D. 280, 290 (D. Minn. 2018) (“the

[c]ourt finds that—due to the large number of possible class members—a class action is

necessary to avoid potentially crowding the docket with thousands of similar cases”).

                                            * **

       Because the requirements of Rule 23(a) and Rule 23(b)(3) are satisfied, conditional

certification of the proposed Settlement Classes is appropriate.




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       D.        Rule 23(e) Factors Support Preliminary Approval of the Cattle-JBS
                 Settlement

       As discussed above, courts may only approve settlements after considering the

enumerated Rule 23(e)(2) factors, which are discussed in turn.

                 1.    The Class Representatives and Class Counsel Have Adequately
                       Represented the Classes and the Parties’ Negotiations Were At
                       Arms’ Length (Fed. R. Civ. P. 23(e)(2)(A)-(B))

       As discussed above in Section IV.B.4, Co-Lead Counsel and the class

representatives have diligently represented the interests of the Settlement Classes in all

phases of the litigation.    In addition, as described above in Section II and in the Joint

Declaration, the Parties negotiated the Cattle-JBS Settlement at arms’ length and under the

supervision of a well-regarded mediator, Miles Ruthberg. Thus, Rule 23(e)(2)(A) and (B)

are satisfied.

                 2.    The Proposed Relief Under the Cattle-JBS Settlement Is
                       Adequate (Fed. R. Civ. P. 23(e)(2)(C))

       The relief secured by the Cattle-JBS Settlement – $83.5 million – is substantial and

will inure to the benefit of the Settlement Classes. This is supported by the additional

factors provided under Rule 23(e)(2)(C), discussed below.

       The costs, risks, and delays of trial and appeal, Fed. R. Civ. P. 23(e)(2)(C)(i). Co-

Lead Counsel have expended substantial resources litigating Cattle Plaintiffs’ and the

Classes claims to this point. This includes tens of thousands of hours in uncompensated

attorney time and millions of dollars in expert costs and other case-related expenses over

nearly six years of litigation.




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       Defendants, including JBS, have vigorously contested Cattle Plaintiffs’ claims at

every turn, having moved to dismiss Cattle Plaintiffs’ complaints multiple times and fought

efforts to obtain discovery from them. Defendants have also noticed and taken multiple

depositions of individual Cattle Plaintiffs, served voluminous discovery requests, including

document requests, interrogatories, and requests for admissions to each Cattle Plaintiff.

Cattle Plaintiffs anticipate that Defendants will continue their vigorous opposition against

Cattle Plaintiffs’ claims at class certification, summary judgment, and trial. The risks faced

by Cattle Plaintiffs are substantial. To prevail on their claims, Cattle Plaintiffs must clear

each of these hurdles; Defendants, in contrast, need only be successful in one of these tasks

to either defeat or substantially weaken Cattle Plaintiffs’ case. Regardless of the outcome

at these litigation stages, the non-prevailing party would likely appeal, causing further

delay, costs, and expenses. See Swinton v. SquareTrade, Inc., No. 4:18-CV-00144-SMR-

SBJ, 2019 WL 617791, at *7 (S.D. Iowa Feb. 14, 2019) (evaluating Rule 23(e)(2)(C)(i),

and concluding that “[a] comparison of the settlement against the costs, risks, and delay of

trial and appeal strongly favors approving the settlement. If the settlement fails and this

matter proceeds, it will likely take years to resolve, assuming it makes it to trial.”).

       Method of Distributing Relief, Fed. R. Civ. P. 23(e)(2)(C)(ii). Under the proposed

Plan of Allocation, each Settlement Class Member will submit a claim form detailing their

qualifying transactions. After processing and validating each claim form, the Claims

Administrator shall distribute the proceeds of the Net Settlement Fund to Settlement Class

Members submitting qualifying claims.




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       Proposed Attorneys’ Fee Award, Fed. R. Civ. P. 23(e)(2)(C)(iii). Co-Lead Counsel

anticipate seeking an award of up to one-third of the Settlement Fund ($27.83 million) as

compensation toward their attorneys’ fees. Co-Lead Counsel also anticipate asking for an

award of no more than $8.5 million, for unreimbursed litigation costs and expenses, and

that a sum of no more than $3.5 million be set aside for future litigation expenses. Joint

Decl., ¶24. Co-Lead Counsel may also seek an award of no more than $30,000 as a Service

Award for each Cattle Plaintiff in connection with their representation of the Classes. Joint

Decl., ¶24. The requested fee and cost reimbursements, as well as the requested service

awards, are well within the range of such awards routinely approved in litigations of similar

size and complexity. See In re Pork Antitrust Litig., No. CV 18-1776 (JRT/JFD), 2022

WL 22861485, at *3-5 (D. Minn. July 22, 2022) (awarding attorneys’ fees equal to 33 1/3%

of common fund, $2.5 million in incurred litigation expenses, $2.49 million for future

litigation expenses, and $25,000 in service awards). See also Kruger v. Lely N. Am., Inc.,

No. 0:20-CV-00629-KMM/DTS, 2023 WL 5665215, at *6 (D. Minn. Sept. 1, 2023)

(finding service awards of $50,000, $25,000, and $15,000 were approprirate).

       Any Additional Agreements Connected to the Cattle-JBS Settlement.                Rule

23(e)(3) requires that “[t]he parties seeking approval must file a statement identifying any

agreement made in connection with the proposal.” Fed. R. Civ. P. 23(e)(3). The Stipulation

sets out the full scope of Cattle Plaintiffs’ agreement with JBS.         In particular, the

Stipulation identifies that JBS has a qualified right to terminate the Stipulation should a

specified number of class members validly exercise their rights to exclude themselves from




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the Cattle-JBS Settlement. See Stipulation, ¶12.5. The terms of this qualified right to

terminate are set out in a Supplemental Agreement between the Cattle Plaintiffs and JBS.8

       Although the Stipulation does not identity the opt-out threshold that would trigger

this provision, this type of qualified termination right is typical in complex class actions

and does not impact the fairness of the Cattle-JBS Settlement. See, e.g., In re Carrier IQ,

Inc., Consumer Privacy Litig., No. 12-md-2330, 2016 WL 4474366, at *5, 7 (N.D. Cal.

Aug. 25, 2016) (observing that such “opt-out deals are not uncommon as they are designed

to ensure that an objector cannot try to hijack a settlement in his or her own self-interest,”

and granting final approval of class action settlement); accord MANUAL FOR COMPLEX

LITIGATION (FOURTH) §21.631 (2004) (explaining that “[k]nowledge of the specific

number of opt outs that will vitiate a settlement might encourage third parties to solicit

class members to opt out.”).

              3.     The Cattle-JBS Settlement Treats Settlement Class Members
                     Equitably Relative to Each Other (Fed. R. Civ. P. 23(e)(2)(D))

       Under the Stipuation and the Plan of Allocation, Settlement Class Members that

submit timely Claim Forms are eligible to receive a distribution from the Net Settlement

Fund. In addition, as described in the Plan of Allocation, and in Section VII below, the

Net Settlement Fund will be apportioned into two distinct allocation pools for purposes of

distributing proceeds to Class Members. One pool will be dedicated to members of the

Producer Class, and the other pool will be dedicated to members of the Exchange Class


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      Although this Supplemental Agreement will not be filed on the public docket, upon
the Court’s request, Cattle Plaintiffs will submit this Supplemental Agreement for in
camera review.


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(the “Allocation Pools”). Settlement Class Members are eliglible to receive a pro rata

distribution of their respective Allocation Pools, subject to eligible claims exceeding a de

minimis, $10 threshold. This is sufficient to satisfy this requirement.9

                                           * * *

       In sum, each of the Rule 23(e) considerations weigh in favor of preliminarily

approving the Cattle-JBS Settlement.

       E.     The Eighth Circuit Factors Also Support a Finding that the Cattle-JBS
              Settlement Is Fair, Reasonable, and Adequate

       The Eighth Circuit has established four factors for determining whether a proposed

settlement is fair, reasonable and adequate: (1) the merits of plaintiffs’ case, weighed

against the terms of the settlement; (2) the defendant’s financial condition; (3) the

complexity and expense of further litigation; and (4) the amount of opposition to the

settlement. See Marshall, 787 F.3d at 508 (citing Uponor, 716 F.3d at 1063); Dryer v.

Nat’l Football League, No. 09-cv-2182-PAM-AJB, 2013 WL 5888231, at *2 (D. Minn.

Nov. 1, 2013). At the preliminary approval stage, only the first three factors are considered,

In re Wireless Tel. Fed. Cost Recovery Fees Litig., 396 F.3d 922, 932 (8th Cir. 2005), and

the first is the most important, Van Horn v. Trickey, 840 F.2d 604, 607 (8th Cir. 1988).

Here, the first and third factors favor preliminary approval of the Cattle-JBS Settlement,

while the second fact is neutral.




9
       “There is no requirement that all class members in a settlement be treated equally.”
Swinton, 2019 WL 617791, at *8 (citing Marshall v. Nat’l Football League, 787 F.3d 502,
510 (8th Cir. 2015)).


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       As to the first factor – the merits of plaintiffs’ case weighed against the terms of the

settlement – without the Cattle-JBS Settlement, the outcome of the litigation as to JBS

would be far from certain. Although Cattle Plaintiffs defeated JBS’s motion to dismiss,

motions for class certification and summary judgment, as well as trial, will be strenuously

contested.10   Furthermore, favorable decisions at class certification and trial are not

guaranteed, and will likely face an appeal. In lieu of the uncertainties and delay inherent

in continued litigation, the Cattle-JBS Settlement provides for substantial, direct, and

certain benefits to the classes. This factor favors approval of the Cattle-JBS Settlement.

       As to the third factor, this case has been, and will continue to be, complex and

expensive. Counsel for all parties have vigorously represented their clients and will

continue to do so. As this Court has previously found in a similar case, this factor supports

approval of the Cattle-JBS Settlement here. See In re Pork Antitrust Litig., No. CV 18-

1776 (JRT/JFD), 2023 WL 11892594, at *1 (D. Minn. Nov. 4, 2023).

       Finally, the second factor – JBS’s financial condition – is a neutral factor. There is

no indication that JBS’s financial condition is not secure. See Marshall, 787 F.3d at 512

(“The district court found that the NFL is in good financial standing, which would permit

it to adequately pay for its settlement obligations or continue with a spirited defense in the

litigation. No party disagrees with this finding. As such, we find this factor neutral.”).



10
       For its part, “JBS denies Cattle Plaintiffs’ allegations, denies any and all
wrongdoing in connection with the facts and claims that have been or could have been
alleged against it in the Action” but “has nevertheless agreed to enter into this Cattle-JBS
Settlement to avoid further expense, exposure, inconvenience, and the distraction of
burdensome and protracted litigation.” Stipulation, at 2.


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However, given that first and third factors clearly support preliminary approval of the

Cattle-JBS Settlement, this factor should not be determinative.

V.     THE COURT SHOULD APPOINT CATTLE PLAINTIFFS AS
       SETTLEMENT CLASS REPRESENTATIVES AND CO-LEAD COUNSEL
       AS SETTLEMENT CLASS COUNSEL

       “An order certifying a class action . . . must also appoint class counsel under Rule

23(g).” Fed. R. Civ. P. 23(c)(1)(B). In appointing class counsel, courts should consider:

(i) the work counsel has done in identifying or investigating potential claims in the action;

(ii) counsel’s experience in handling class actions, other complex litigation, and the types

of claims asserted in the action; (iii) counsel’s knowledge of the applicable law; and (iv)

the resources that counsel will commit to representing the classes. Fed. R. Civ. P.

23(g)(1)(A).

       As discussed above, both Cattle Plaintiffs and Co-Lead Counsel have adequately

represented the interests of all Class Members through vigorous prosecution of this case

from its inception. See Sections I-III, supra. Co-Lead Counsel devoted substantial efforts

and resources in developing the claims in this case and filed the first complaint in this

matter without the benefit of any preceding government actions.

       As top-tier class action law firms, Scott+Scott and CCMS not only have extensive

experience with complex class actions, but also have ample resources to dedicate to such

lawsuits and have done so here, all without any guarantee that those resources would be

recovered. In particular, Co-Lead Counsel have frequently prosecuted violations of the

Sherman Act and the CEA related to conspiracies and manipulative schemes and are very

familiar with the applicable law. See Joint Decl., ¶18.


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        Thus, the Court should appoint Scott+Scott and CCMS, as Co-Lead Counsel, and

Cattle Plaintiffs, who have ably represented the interests of all Class Members, as class

representatives.

VI.     THE COURT SHOULD APPROVE THE PROPOSED CLASS NOTICE
        PLAN AND ANGEION GROUP LLC AS CLAIMS ADMINISTRATOR

        If the Court preliminarily approves the Cattle-JBS Settlement, it must separately

consider whether the proposed notice is appropriate. Class Members are entitled to “ʻthe

best notice that is practicable under the circumstances, including individual notice to all

members who can be identified through reasonable effort.’” Taqueria El Primo LLC v.

Illinois Farmers Ins. Co., 630 F. Supp. 3d 1121, 1125 (D. Minn. 2022) (citing Fed. R. Civ.

P. 23(c)(2)(B)). But “ʻ[s]omething less than actual notice to all class members is tolerated

in order to strike a balance between the due process concerns and the need for a mechanism,

i.e., the class action, to efficiently litigate certain cases involving numerous parties.’”

Barfield v. Sho-Me Power Elec. Co-op., No. 11-CV-04321, 2013 WL 3872181, at *13

(W.D. Mo. July 25, 2013), aff'd sub nom. Barfield v. Sho-Me Power Elec. Coop., 852 F.3d

795 (8th Cir. 2017).

        The proposed Notice Plan and related forms of notice (see Angeion Declaration,

Exs. B, D, and E) are “reasonably calculated, under all the circumstances, to apprise

interested parties of the pendency of the action and afford them an opportunity to present

their objections.” Mullane v. Cent. Hanover Bank & Tr. Co., 339 U.S. 306, 314 (1950).

The Notice Plan here will explain in simple and easy-to-understand terms: (1) the litigation

and the material terms of the Cattle-JBS Settlement, (2) how Settlement Class Members



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can object or exclude themselves from the Cattle-JBS Settlement, (3) how to participate in

the Cattle-JBS Settlement, and (4) how to find out more information about the Cattle-JBS

Settlement, including visiting the settlement website.

       The Notice Plan will include a direct-mailing component that will involve sending

the mailed notice (Angeion Declaration, Ex. B) and Claim Form (id., Ex. C) via First-Class

Mail, postage prepaid to potential Class Members, as well as sending mail notice to the

feedlots in which Class Members fed their cattle and trade associations which represented

their interest, and to brokers and other nominees for the Exchange Class. See Angeion

Declaration, ¶¶32, 33. The Supreme Court has consistently found that mailed notice

satisfies the requirements of due process. See, e.g., Mullane, 339 U.S. at 319.

       The Claims Administrator also will publish the banner and publication notice in

various periodicals, industry publications, websites, and other digital media. See Angeion

Declaration ¶23. Any Settlement Class Members that do not receive the Class Notice via

direct mail likely will receive the Class Notice through the foregoing publications or word

of mouth.

       The Settlement Website, www.cattleantitrustsettlement.com, will serve as an

information source regarding the Cattle-JBS Settlement. Settlement Class Members can

review and obtain: (i) a blank Proof of Claim and Release form to claim from the Net

Settlement Fund; (ii) the mailed and publication notices; (iii) the proposed Plan of

Allocation; (iv) the Stipulation; and (v) key pleadings and Court orders. The Claims

Administrator will also operate a toll-free telephone number to answer Class Members’

questions and facilitate claims filing. See Angeion Declaration ¶¶37-38.


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       Co-Lead Counsel recommend that Angeion Group LLC (“Angeion”) be appointed

as Claims Administrator. With Co-Lead Counsel, Angeion developed the notice plan and

has experience in administering class action settlements involving securities in over-the-

counter and exchange markets, including in cases involving futures and options.

VII.   THE COURT SHOULD APPROVE THE PLAN OF ALLOCATION

       Cattle Plaintiffs also seek approval of the proposed Plan of Allocation. See Joint

Decl., Ex. 4. “ʻAs a general rule, the adequacy of an allocation plan turns on whether

counsel has properly apprised itself of the merits of all claims, and whether the proposed

apportionment is fair and reasonable in light of that information.’” In re Platinum &

Palladium Commodities Litig., No. 10CV3617, 2014 WL 3500655, at *13 (S.D.N.Y. July

15, 2014). (quoting In re PaineWebber Ltd. P’ships Litg., 171 F.R.D. 104, 133 (S.D.N.Y.

1997)). Here, Co-Lead Counsel are well-positioned to understand the strengths and

weaknesses of Cattle Plaintiffs’ claims. They are also experienced in developing and

implement plans of distribution in antitrust and commodities class actions. See In re Marsh

ERISA Litigation, 265 F.R.D. 128 (S.D.N.Y. 2010) (“In determining whether a plan of

allocation is fair, courts give substantial weight to the opinions of experienced counsel.”).

       The Plan of Allocation11 describes the manner in which the Net Settlement Fund

will be fairly apportioned between the Producer and Exchange Classes and how qualifying

claimants will be paid from the Net Settlement Fund.




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       Capitalized terms in this section are defined in the Plan of Allocation filed herewith.


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       First, the Plan of Allocation describes that the Net Settlement Fund will be

apportioned between the Producer and Exchange Classes. The Plan of Allocation creates

two pools of funds to pay eligible claims: the Producer Pool and the Exchange Pool. These

two Allocation Pools were based, upon: (1) Dr. Lamb and Ms. Rosevear’s expert analyses

in supporting Cattle Plaintiffs’ Motion for Class Certification (ECF No. 883 at Exs. 1 and

2); (2) the relative strengths and weaknesses of the claims asserted on behalf of each Class,

including, but not limited to: (a) the strength of the evidence supporting misconduct, injury,

and damages to each Class (e.g., the nature of Defendants’ conduct in the physical cattle

market versus the exchange-traded market) and (b) legal risks, including the statute of

limitations for claims asserted by each Class (e.g., CEA claims that are brought only by

Exchange Class Members have a two-year limitation period). Joint Decl., Ex. 4, ¶9. Cf.

In re Sturm, Ruger, & Co., Inc. Sec. Litig., No. 3:09CV1293 VLB, 2012 WL 3589610, at

*8 (D. Conn. Aug. 20, 2012) (“ʻAllocation formulas, including certain discounts for

[different products], are recognized as an appropriate means to reflect the comparative

strengths and values of different categories of the claim. There is no rule that settlements

benefit all class members equally.’”). Accordingly, Co-Lead Counsel concluded that 95%

of the Net Settlement Fund should be dedicated to the Producer Pool, with the remaining

5% of the Net Settlement Fund dedicated to the Exchange Pool. Joint Decl., Ex. 4, ¶8.

       Second, for each Settlement Class, the Claims Administrator will calculate an

Authorized Claim Amount based on the information provided in the Claim Form and

subject to adjustments described in the Plan of Allocation. For the Producer Class, the

Authorized Claim Amount is determined by the total dollar volume of eligible fed cattle


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sales, subject to the following multipliers: fed cattle sales during the period June 1, 2015

through February 29, 2020, will receive a 1.0 multiplier, while fed cattle sales after

February 29, 2020 will receive a 0.05 multiplier. These multipliers are based on an

assessment of the relative strength and weaknesses of Cattle Plaintiffs’ claims over these

two time periods, including the evidence demonstrating Defendants’ misconduct, injury,

and damages over each period. Joint Decl., Ex. 4, ¶12.

       For the Exchange Class, the Claims Administrator will calculate an Authorized

Claim Amount based on the information submitted in the Claim Forms. The Authorized

Claim Amount is the product of: (i) the number of futures contracts traded; (ii) the futures

contract price, denominated in U.S. cents per pound, on the date of liquidating that position;

and (iii) the futures contract unit, denominated as pounds per futures contract (40,000

pounds). Joint Decl., Ex. 4, ¶16.

       Third, the Net Settlement Fund will be distributed to each Producer and Exchange

Class Member based on their pro rata fraction of each Producer and Exchange Class

Member’s Authorized Claim Amount divided by the total of all Authorized Claim

Amounts in each pool. Joint Decl., Ex. 4, ¶18. To the extent an individual or entity is a

member of both the Producer and Exchange Classes, then it shall receive the sum of its pro

rata fraction from each Allocation Pool. Joint Decl., Ex. 4, ¶19.

       The exception to this pro rata distribution will be for Class Members whose

Distribution Amounts calculate to less than $10.00. If a Class Member’s Distribution

Amount calculates to less than $10.00, no distribution will be made to such Class Member,




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and such payment will be reallocated to Class Members whose Distribution Amounts

exceed $10.00 for the relevant Allocation Pool. Joint Decl. Ex. 4, ¶20.12

       Because the Plan of Allocation is fair and reasonable, it should be approved.

VIII. THE COURT SHOULD APPOINT HUNTINGTON BANK AS ESCROW
      AGENT

       Co-Lead Counsel have designated Huntington Bank to serve as Escrow Agent, to

which JBS has consented. Huntington Bank has served as escrow agent in more than 6,500

settlements, representing more than $80 billion. Joint Decl., Ex. 3, ¶3. Recent matters

where Huntington Bank has been appointed as escrow agent include KPH Healthcare

Servs., Inc. v. Mylan, N.V., No. 2:20-CV-02065-DDC-TJJ, 2024 WL 1494314, at *3 (D.

Kan. Apr. 3, 2024); In re Disposable Contact Lens Antitrust Litig., No. 3:15-MD-2626-

HES-LLL, 2023 WL 11914918, at *1 (M.D. Fla. Nov. 29, 2023), objections overruled, No.

3:15-MD-2626-HES-LLL, 2024 WL 3988972 (M.D. Fla. Feb. 29, 2024); and In re

Remicade Antitrust Litig., No. 17-CV-04326, 2022 WL 3042766, at *3 (E.D. Pa. Aug. 2,

2022). Huntington Bank has agreed to provide its services at market rates. Joint Decl.,

¶38.


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        Further, under paragraph 5.15 of the Stipulation, “[i]f any balance remains in the
Net Settlement Fund six (6) months after the date of the initial distribution of the Net
Settlement Fund (by reason of tax refunds, uncashed checks, or otherwise), Interim Co-
Lead Counsel shall request the Claims Administrator, if economically feasible and
reasonable, to reallocate such balance among those Authorized Claimants who have cashed
their checks, in an equitable fashion, after payment of any unpaid Notice and
Administration Costs incurred in administering the Net Settlement Fund for such
redistribution. Such redistributions shall be repeated until the remaining balance in the Net
Settlement Fund is de minimis and such remaining balance shall be donated to an
appropriate 501(c)(3) non-profit organization selected by Interim Co-Lead Counsel and
approved by the Court.” Joint Decl. Ex. 4, ¶21.


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        Based on Huntington Bank’s experience and familiarity with performing the

services of an escrow agent, Co-Lead Counsel are confident Huntington Bank will properly

perform the duties of Escrow Agent as ordered by the Court. See Joint Decl. ¶39,

IX.     PROPOSED SCHEDULE OF CATTLE-JBS SETTLEMENT EVENTS

        In connection with preliminary approval of the Cattle-JBS Settlement, the Court

must set a Fairness Hearing date, set dates for initial mailing of the mailed notice and

distribution of the publication notice, and set deadlines for requesting exclusion from the

Classes, objecting to the Cattle-JBS Settlement, and filing claims.         In addition to

considering final approval of the Cattle-JBS Settlement and the Plan of Allocation, Co-

Lead Counsel will also file a motion for fees and expenses, and Cattle Plaintiffs may file

an application for a Service Award.

        Cattle Plaintiffs propose the following schedule:

                        Event                                        Deadline
 Begin distribution of mailed notice to Class           No later than 60 days after entry
                                                        of the Preliminary Approval
                                                        Order (“Notice Date”)

 Commencement of the distribution of the                No later than the Notice Date
 publication notice; launch of Settlement Website

 Complete initial distribution of mailed and            30 days after the Notice Date
 publication notices

 Deadline to file motions for final approval of the     63 days prior to the Fairness
 Cattle-JBS Settlement, an award of attorneys’ fees     Hearing
 and expenses, and service awards

 Deadline to object to the Cattle-JBS Settlement,       42 days prior to the Fairness
 Plan of Allocation for settlement proceeds, request    Hearing
 for an award of attorneys’ fees and expenses, or
 application for service awards


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                       Event                                       Deadline
 Deadline to request exclusion from the Settlement     42 days prior to the Fairness
 Classes                                               Hearing

 Deadline to file reply papers in support of final     7 days prior to the Fairness
 approval of the Cattle-JBS Settlement, request for    Hearing
 an award of attorneys’ fees and expenses, and
 request for service awards

 Fairness Hearing                                      At the Court’s convenience, but
                                                       no earlier than 175 days after
                                                       entry of the Preliminary
                                                       Approval Order

 Last day for submitting Proof of Claim and Release 30 days after Fairness Hearing
 forms


See Proposed Preliminary Approval Order.

                                    CONCLUSION

      For the foregoing reasons, the proposed Cattle-JBS Settlement warrants the Court’s

preliminary approval.   Cattle Plaintiffs respectfully request that the Court enter the

accompanying proposed order that among other things: (a) preliminarily approves the

Cattle-JBS Settlement, subject to later, final approval; (b) conditionally certifies the

Settlement Classes; (c) approves the Plan of Allocation with respect to the Net Settlement

Fund; (d) appoints Cattle Plaintiffs as representatives of the Settlement Classes; (e)

appoints Scott+Scott and CCMS as Co-Lead Counsel for the Settlement Classes; (f)

appoints Huntington Bank as Escrow Agent for purposes of the Settlement Fund; (g)

appoints Angeion as the Claims Administrator for the Cattle-JBS Settlement; (h) approves

the proposed forms of Notice to the Settlement Classes of the Cattle-JBS Settlement and




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the proposed Notice plan; and (i) sets a schedule leading to the Court’s consideration of

final approval of the Cattle-JBS Settlement.



Dated: January 31, 2025                         Respectfully submitted,

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